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16

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18
                                UNITED STATES DISTRICT COURT
19                            NORTHERN DISTRICT OF CALIFORNIA
                                   SAN FRANCISCO DIVISION
20

21                                                     Case No. 07-5944 SC
22   In re: CATHODE RAY TUBE (CRT)                     MDL No. 1917
     ANTITRUST LITIGATION
23                                                     STIPULATION AND [PROPOSED]
                                                       ORDER REGARDING SETTLEMENT
24   This Document Relates to:                         NOTICE
25   DIRECT PURCHASER CLASS ACTION                     Judge: Hon. Samuel Conti
26

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     STIPULATION AND [PROPOSED] ORDER
     REGARDING SETTLEMENT NOTICE                                                  Case No. 07-5944
                                                                                   MDL NO. 1917
      Case 3:07-cv-05944-JST Document 2341 Filed 01/21/14 Page 2 of 4



 1          WHEREAS, on January 8, 2014, this Court entered its Order Granting Class Certification
 2   and Preliminary Approval of Class Action Settlement with the Hitachi Defendants (Dkt. No.
 3   2311) (“Hitachi Preliminary Approval Order”), which granted certification of a Direct Purchaser
 4   Plaintiff (“DPP”) class and preliminary approval of DPPs’ settlement with Hitachi, Ltd., Hitachi
 5   Displays, Ltd. (n/k/a Japan Display Inc.), Hitachi Asia, Ltd., Hitachi America, Ltd., and Hitachi
 6   Electronic Devices (USA), Inc. (collectively “Hitachi”);
 7          WHEREAS, the Hitachi Preliminary Approval Order set deadlines for, inter alia, notice
 8   of the settlement to the class, objections, and requests for exclusions;
 9          WHEREAS, DPPs have recently reached a settlement with Samsung SDI Co. Ltd. (f/k/a
10   Samsung Display Devices Co., Ltd.); Samsung SDI America, Inc.; Samsung SDI Brasil, Ltd.; (4)
11   Tianjin Samsung SDI Co., Ltd.; Samsung Shenzhen SDI Co., Ltd.; SDI Malaysia Sdn. Bhd.; and
12   SDI Mexico S.A. de C.V. (collectively, “Samsung SDI”);
13          WHEREAS, the Settlement Agreement with Hitachi (which has been preliminarily
14   approved by this Court) states in paragraph 19(b) that “If Lead Counsel enters into any other
15   settlements on behalf of the Class before notice of this Agreement is given to the Class, Lead
16   Counsel shall use its reasonable best efforts to provide a single notice to prospective Class
17   members of all of the settlements”;
18          WHEREAS, all parties believe it would further judicial efficiency and would save the
19   class a significant amount of money to provide notice of both settlements in a single notice, and
20   proceed on a joint briefing and hearing schedule;
21          IT IS HEREBY STIPULATED AND AGREED by and between counsel for the DPPs and
22   counsel for Hitachi in the above-captioned actions, as follows:
23          (1)     All deadlines set forth in the Hitachi Preliminary Approval Order are vacated; and
24          (2)     DPPs and Samsung SDI will move for preliminary approval of the settlement
25                  between DPPs and Samsung SDI at the earliest practical time, at which time a joint
26                  schedule for both the Hitachi and Samsung SDI settlements can be set.
27          The undersigned Parties jointly and respectfully request that the Court enter this
28   stipulation as an order.
     STIPULATION AND [PROPOSED] ORDER
                                                                                          Case No. 07-5944
     REGARDING SETTLEMENT NOTICE                       1                                   MDL NO. 1917
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24

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     STIPULATION AND [PROPOSED] ORDER
                                                                                 Case No. 07-5944
     REGARDING SETTLEMENT NOTICE              2                                   MDL NO. 1917
       Case 3:07-cv-05944-JST Document 2341 Filed 01/21/14 Page 4 of 4



 1                    ATTESTATION PURSUANT TO CIVIL LOCAL RULE 5-1(I)
 2             I, R. Alexander Saveri, attest that concurrence in the filing of this document has been

 3   obtained from all signatories. I declare under penalty of perjury under the laws of the United

 4   States of America that the foregoing is true and correct. Executed on January 14, 2014, at San

 5   Francisco, California.

 6                                                          /s/ R. Alexander Saveri
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 9   PURSUANT TO STIPULATION, IT IS SO
     ORDERED.
10
     Dated:     January 21, 2014
11                                                                      Hon. Samuel Conti
                                                                    United States District Judge
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     crt.642
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     STIPULATION AND [PROPOSED] ORDER
                                                                                            Case No. 07-5944
     REGARDING SETTLEMENT NOTICE                        3                                    MDL NO. 1917
